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2 UNITED sTATEs DISTRICT Cuk€r-~a w i;: g 3
3 NORTHERN DISTRICT ()F CAIC,!§‘
i * " 4 Jose Padilla and Estela Lebron l l
  5 _`
’ 6 CASENO. Cr/l>-SFM
Plaintiff(s), _
7 _ v. APPLICATION FOR
8 ` ADMISSION OF ATTORNEY
9_&,101111@@_ m ”AC "CE_
10
Defendant s . /
:; Pursuant to Civil L.R. 11-3, Jonathan M- Fl'eiman , an active member in
13 good Standing Of the bar of the U.S.D.C. for the District of Connecticut » hereby applies
for admission to practice in the Northern District of Califomia on a pro hac vice basis
14 representing jose padilla and Estela Lebron in the above-entitled action.
15 ln support of this application, I certify on oath that:
16 1. lam an active member in good standing of a United States Court or of the highest
17 court of another State or the District of Columbia, as indicated above;
18 2. I agree to abide by the Standards of Professional Conduct set forth in Civil Local
19 _ Rule 11-4, to comply with General .rder No. 45, Electronic Case Filing, and to
20 become familiar with the local Rules and the Alternative Dispute Resolution
21 l programs of this Court; and, l
22 3. An attorney who is a member of the bar of this Court in good standing and who
23 maintains an office within the State of California has been designated as co-
24 counsel in the above-entitled action. The name, address and telephone number of
25 that attorney is:
26 `

_ Natalie L. Bridgeman, Esq., 131 Steuart Street, Suite 400
27 San Francisco, CA 94105 (415) 979-0150

I declare under penalty of perjury that the foregoing is true and correct.

 

28

 

  Dated; ranan 3, `:2008

